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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

KINSALE INSURANCE COMPANY,                        §
             Plaintiff                            §
                                                  §
vs.                                               §      Case No. SA-22-CV-00048-JKP
                                                  §
FLYIN' DIESEL PERFORMANCE &                       §
OFFROAD, LLC, ROSS M DUNAGAN,                     §
KARLA MARTINEZ, INDIVIDUALLY                      §
AND AS HUSBAND AND WIFE and as                    §
the NATURAL PARENTS AND                           §
REPRESENTATIVE OF THE ESTATE OF                   §
SANTIAGO MARTINEZ; FRANCISCO                      §
GERARDO RECIO PALACIOS,                           §
INDIVIDUALLY and O/B/O THE                        §
ESTATE OF REBECCA CEDILLO and                     §
THEIR SURVIVING NATURAL                           §
CHILDREN; DELIA JONES,                            §
INDIVIDUALLY and as NEXT FRIEND                   §
OF J.D.J; ABEL MARTINEZ, JR.,                     §
INDIVIDUALLY and as HUSBAND AND                   §
WIFE and as the NATURAL PARENTS                   §
AND REPRESENTATIVE OF THE                         §
ESTATE OF SANTIAGO MARTINEZ;                      §
CHANCE JONES, INDIVIDUALLY and as                 §
REPRESENTATIVE OF THE ESTATE OF                   §
D.I.T.J.; and MARY KATE WALLS,                    §
INDIVIDUALLY and as NEXT FRIEND                   §
OF G.M.J.;                                        §
                Defendants                        §


                    CONFIDENTIALITY AND PROTECTIVE ORDER
        Before the court is the joint motion of the parties for the entry of a confidentiality and
 protective order (“Protective Order”) [#25]. Based on the parties’ submissions and the record
 in this matter, the court finds that disclosure and discovery activity in this action are likely to
 involve production of confidential, sensitive, or private information for which special
 protection from public disclosure and from use for any purpose other than prosecuting this
 litigation would be warranted. Accordingly, a protective order for such information is
 justified in this matter:
        •   to expedite the flow of information;
        •   to facilitate the prompt resolution of disputes over confidentiality of discovery

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            materials;
       •    to adequately protect information the parties are entitled to keep confidential;
       •    to ensure that the parties are permitted reasonably necessary uses of such material
            in preparation for and in the conduct of trial;
       •    to address the handling of confidential materials at the end of the litigation; and
       •    to serve the ends of justice.
      This Protective Order does not confer blanket protections on all disclosures of
responses to discovery, and the protection it affords extends only to the limited information
or items that are entitled under the applicable legal principles to be treated as confidential.
   After careful consideration, it is ORDERED that the motion is granted, and the court
ORDERS the following:
       1. Confidential Information
      “Confidential information” means any information of any type, kind, or character that
is designated as “Confidential” by any of the supplying or receiving persons, whether it be a
document, information contained in a document, information revealed during discovery, or
otherwise.
       2.   Qualified Persons
     “Qualified Persons” means:
            a.     the party, if a natural person;
            b.     if the party is an entity, such officers or employees of the party who are
            actively involved in the prosecution or defense of this case who, by their receipt
            of Confidential information, are bound by the terms of this Protective Order;
            c.     retained counsel for the parties in this litigation and their respective staff;
            d.     this court and its staff and any other tribunal, special master, or dispute
            resolution officer duly appointed or assigned in connection with this litigation;
            e.      actual or potential independent experts or consultants (and their
            administrative or clerical staff) engaged in connection with this litigation (which
            shall not include the current employees, officers, members, or agents of parties or
            affiliates of parties) who, by their receipt of Confidential information are bound
            by the terms of this Protective Order;
            f.     jury and trial consultants and their staff and mock jurors who, by their
            receipt of Confidential information are bound by the terms of this Protective Order;
            g.     litigation vendors, court reporters, video camera operators, translators, and
            other litigation support personnel;
            h.     any person who was an author, addressee, or intended or authorized
            recipient of the Confidential information and who agrees to keep the information
            confidential, provided that such persons may see and use the Confidential

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            information but not retain a copy; and
            i.    such other person as this court may designate after notice and an
            opportunity to be heard.
       3. Designation Criteria
            a.     A party shall designate as “Confidential” only such information that the
            party in good faith believes in fact is confidential. Information that is generally
            available to the public, such as public filings, catalogues, advertising materials,
            and the like, shall not be designated as Confidential.
                  Information and documents that may be designated as Confidential
            information include, but are not limited to, trade secrets, confidential or
            proprietary financial information, operational data, business plans, and
            competitive analyses, personnel files, personal information that is protected by
            law, and other sensitive information that, if not restricted as set forth in this
            order, may subject the producing or disclosing person to competitive or financial
            injury or potential legal liability to third parties.
                 Correspondence and other communications between the parties or with
            nonparties may be designated as Confidential information if the communication
            was made with the understanding or reasonable expectation that the information
            would not become generally available to the public.
            b.     Confidential information shall not include information that either:
                       i.    is in the public domain at the time of disclosure, as evidenced by a
                             written document;
                      ii.    becomes part of the public domain through no fault of the
                             recipient, as evidenced by a written document;
                     iii.    the receiving party can show by written document was in its
                             rightful and lawful possession at the time of disclosure; or
                     iv.     lawfully comes into the recipient’s possession subsequent to the
                             time of disclosure from another source without restriction as to
                             disclosure, provided such third party has the right to make the
                             disclosure to the receiving party.
       4. Use of Confidential Information
       All Confidential information provided by any party or nonparty in the course of this
litigation shall be used solely for the purpose of preparation, trial, and appeal of this litigation
and for no other purpose and shall not be disclosed except in accordance with the terms of
this Order.
       5. Marking of Documents
     Documents provided in this litigation may be designated by the producing person or by
any party as Confidential information by marking each page of the documents so designated
with a stamp indicating that the information is “Confidential.” The designation should be
made in a fashion or form that is conspicuous yet allows the Confidential information to

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remain legible. In lieu of marking the original of a document, if the original is not provided,
the designating party may mark the copies that are provided. Originals shall be preserved for
inspection.
       6. Disclosure at Depositions
      Information disclosed at (a) the deposition of a party or one of its present or former
officers, directors, employees, agents, consultants, representatives, or independent experts
retained by counsel for the purpose of this litigation, or (b) the deposition of a nonparty may
be designated by any party as Confidential information by indicating on the record at the
deposition that the testimony is “Confidential.”
      Any party also may designate information disclosed at a deposition as Confidential
information by notifying all parties in writing not later than 30 days of receipt of the
transcript of the specific pages and lines of the transcript that should be treated as
Confidential information. All deposition transcripts shall be treated as Confidential
information for a period of 30 days after initial receipt of the transcript.
      To the extent possible, the court reporter shall segregate into separate transcripts
information designated as Confidential information with blank, consecutively numbered
pages being provided in a nondesignated main transcript. The separate transcript containing
Confidential information shall have page numbers that correspond to the blank pages in the
main transcript.
      Counsel for a party or a nonparty witness shall have the right to exclude from
depositions any person who is not authorized to receive Confidential information pursuant to
this Protective Order, but such right of exclusion shall be applicable only during periods of
examination or testimony during which Confidential information is being used or discussed.
       7. Disclosure to Qualified Persons
       Confidential information shall not be disclosed or made available by the receiving party
to persons other than Qualified Persons except as necessary to comply with applicable law or
the valid order of a court of competent jurisdiction. But if a disclosure is compelled by law
or court order, the receiving party will notify the producing party as promptly as practicable
(if at all possible, before making such disclosure). The receiving party shall seek a protective
order or confidential treatment of such information or cooperate with the producing party to
protect the information.
       8. Unintentional Disclosures
      Documents unintentionally produced without designation as Confidential information
later may be designated and shall be treated as Confidential information from the date written
notice of the designation is provided to the receiving party.
      If a receiving party learns of any unauthorized disclosure of Confidential information,
the party shall immediately upon learning of such disclosure inform the producing party of
all pertinent facts relating to such disclosure and shall make all reasonable efforts to prevent
disclosure by each unauthorized person who received such information.
       9. Documents Produced for Inspection Prior to Designation


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      In the event documents are produced for inspection prior to designation, the documents
shall be treated as Confidential information during inspection. At the time of copying for the
receiving parties, Confidential information shall be marked prominently “Confidential” by
the producing party.
       10. Consent to Disclosure and Use in Examination
      Nothing in this order shall prevent disclosure beyond the terms of this order if each
party designating the information as Confidential information consents to such disclosure or
if the court, after notice to all affected parties and nonparties, orders such disclosure. Nor
shall anything in this order prevent any counsel of record from utilizing Confidential
information in the examination or cross-examination of any person who is indicated on the
document as being an author, source, or recipient of the Confidential information,
irrespective of which party produced such information.
       11. Challenging the Designation of Confidential Information
       A party shall not be obligated to challenge the propriety of a designation Confidential
information at the time such designation is made, and a failure to do so shall not preclude a
subsequent challenge to the designation. In the event that any party to this litigation
disagrees at any stage of these proceedings with the designation of any information as
Confidential information, the parties shall first try to resolve the dispute in good faith on an
informal basis, such as by production of redacted copies. If the dispute cannot be resolved,
the objecting party may invoke this Protective Order by objecting in writing to the party who
designated the document or information as Confidential information. The designating party
shall then have 14 days to move the court for an order preserving the designated status of the
disputed information. The disputed information shall remain Confidential information unless
the court orders otherwise. Failure to move for an order shall constitute a termination of the
status of such item as Confidential information.
       12. Challenging Release of Confidential Information to Qualified Persons
      In the event that any party in good faith believes that a particular Qualified Person or
the disclosure of particular Confidential information to such person should be precluded, the
objecting party shall give written notice to the opposing party and the parties shall first try to
resolve the dispute in good faith on an informal basis. If the dispute cannot be resolved, the
objecting party shall have 21 days from the date of the written notice to move the court for an
order denying the disputed person (a) status as a Qualified Person, or (b) access to particular
Confidential information. The objecting party shall demonstrate that disclosure to the
disputed person would expose the objecting party to a substantial risk of harm. Upon the
timely filing of such a motion, no disclosure of Confidential information shall be made to the
disputed person unless the court enters an order preserving the designation.
       13. Manner of Use in Proceedings
      In the event a party wishes to use any Confidential information in affidavits,
declarations, briefs, memoranda of law, or other papers filed in this litigation, the party shall
do one of the following: (1) with the consent of the producing party, file only a redacted copy




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of the information; (2) where appropriate (e.g., in connection with discovery and evidentiary
motions) provide the information solely for in camera review; or (3) file such information
under seal with the court consistent with the sealing requirements of the court.
       Nothing in this Order shall limit the parties’ rights or ability to offer evidence at a
hearing or trial. The manner of using any Confidential information at a hearing or trial and
the status of Confidential information resulting from any such use will be determined by the
court.
       14. Filing Under Seal
       The clerk of this court is directed to maintain under seal all documents, transcripts of
deposition testimony, answers to interrogatories, admissions, and other papers filed under
seal in this litigation that have been designated, in whole or in part, as Confidential
information by any party to this litigation consistent with the sealing requirements of the
court.
       15. Return of Documents
       Not later than 120 days after conclusion of this litigation and any appeal related to it,
any Confidential information, all reproductions of such information, and any notes,
summaries, or descriptions of such information in the possession of any of the persons
specified in paragraph 2 shall be returned to the producing party or destroyed, except as this
court may otherwise order or to the extent such information has been used as evidence at any
trial or hearing. Notwithstanding this obligation to return or destroy information, counsel
may retain attorney work product, including document indices, so long as that work product
does not duplicate verbatim substantial portions of the text of any Confidential information.
       16. Ongoing Obligations
      Insofar as the provisions of this Protective Order, or any other protective orders entered
in this litigation, restrict the communication and use of the information protected by it, such
provisions shall continue to be binding after the conclusion of this litigation, except that (a)
there shall be no restriction on documents that are used as exhibits in open court unless such
exhibits were filed under seal, and (b) a party may seek the written permission of the
producing party or order of the court with respect to dissolution or modification of this, or
any other, protective order.
       17. Duty to Ensure Compliance
      Any party providing Confidential information to a Qualified Person shall have the duty
to reasonably ensure that such person observes the terms of this Protective Order and shall be
responsible upon breach of such duty for the failure of such person to observe the terms of
this Protective Order.
       18. Waiver
     Pursuant to Federal Rule of Evidence 502, neither the attorney-client privilege nor
work-product protection is waived by disclosure connected with this litigation.




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       19. Modification and Exceptions
      The parties may, by stipulation, provide for exceptions to this order and any party may
seek an order of this court modifying this Protective Order.


IT IS SO ORDERED.
SIGNED this 2nd day of August, 2022.




                                     ELIZABETH S. ("BETSY") CHESTNEY
                                     UNITED STATES MAGISTRATE JUDGE




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